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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

THE UNITED STATES OF AMERICA,

Plaintiff, Criminal Action Number:
3:14 CR 160-2 (JBA)
VS.

SHEENA DUME,
Defendant.

DEFENDANT SENTENCING MEMORANDUM

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We represent the defendant, Sheena Dume in the above-referenced matter. She is

scheduled to be sentenced on March 8", 2016 pursuant to her guilty plea.

OBJECTIONS TO PRE-SENTENCE REPORT

We do not have any objections to the Pre-sentence Report. However, we do wish to provide
certain information that Probation was awaiting. Specifically, in Item #152 Probation indicated
that it had not yet received records supporting Ms. Dume’s representation that she had completed
her high school diploma. Please see Exhibit Al (State of Connecticut, Department of Education
Congratulations Letter); Exhibit A2 (State of Connecticut, Department of Education GED Official

Transcript of GED Test Results and A3 (State of Connecticut High School Diploma).

Likewise, verification was pending regarding Item #153, please see Exhibits B1 and B2.

SENTENCING

In this post Booker era, the challenge of the sentencing court is to mete out a sentence that

is sufficient but not greater than necessary. It is our considered view that a non-guideline sentence
is sufficient but not greater than necessary to satisfy the ends of justice here. Given Ms. Dume’s
3553(a) factors coupled with her substantial assistance to the Government, we submit that a non-

guideline sentence of time served is sufficient but not greater than necessary.

In Gall v. United States, 552 U.S. 38, 49-50 (2007), the Supreme Court held that the

guidelines provide a starting point for a reasonable sentence, however, a sentencing court “must
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make an individualized assessment based on the facts presented.” The Court also stated that the
sentencing court cannot “presume that the Guidelines range is reasonable.” /d. As a result, the
sentencing court can use the advisory guidelines to create an appropriate sentence after considering
the factors enumerated in 18 U.S.C. § 3553(a). That appropriate sentence may be outside the
guidelines range as long as the “justification is sufficiently compelling to support the degree of the

variance.” Gall, 552 U.S. at 50.

THE APPROPRIATE SENTENCE

In fashioning the appropriate sentence, the Court’s challenge is to mete out a sentence that

is ‘sufficient but not greater than necessary”. In doing so, the Court must consider the total bent

of Sheena Dume’s life. Again, it is our considered view that a non-guideline sentence here is

sufficient but not greater than necessary.

18 U.S.C. § 3553 (a) FACTORS TO BE CONSIDERED IN IMPOSING A SENTENCE

1, The nature and circumstances of the offense and the history and characteristics of
the defendant.
a) The nature and circumstances of the offense.

Ms. Dume acknowledged and continues to appreciate that she was involved in
criminal conduct which was serious and presented great harm to society, especially to the young
ladies here. Sheena knows that there must be consequences for her actions. She is keenly aware
that her poor judgment exposes her to the possibility of continued incarceration. She is

embarrassed by her conduct and is of extreme remorse. She understands fully the trauma that will
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haunt these young ladies. Her prayer is not only for their forgiveness but more importantly that

they be healed.

In Gall v. United States, 552 U.S. 38, 49-50 (2007), the Supreme Court held that the
guidelines provide a starting point for a reasonable sentence, however, a sentencing court “must
make an individualized assessment based on the facts presented.” The Court also stated that the
sentencing court cannot “presume that the Guidelines range is reasonable.” /d. As a result, the
sentencing court can use the advisory guidelines to create an appropriate sentence after considering
the factors enumerated in 18 U.S.C. § 3553(a). That appropriate sentence may be outside the
guidelines range as long as the “justification is sufficiently compelling to support the degree of the

variance.” Gall, 552 U.S. at 50.

b) The history and characteristics of the defendant.
The Probation Report well documents Sheena’s life. However, we will highlight a

few items that we believe contributed mightily on how or why Sheena finds herself here.

Sheena is approximately 23 % years old. She is the product of an intact family. She was
raised in a working class environment. Her parents are first generation Haitians. Sheena holds a

GED diploma. She has worked since the age of fourteen (14).

Sheena too was the victim of sexual abuse and sex trafficking of a minor. When she was
fifteen (15) years old, she ran away or absconded numerous times to be with a pimp by the name

of Timothy Armstrong. Her parents filed numerous police reports in an effort to find her and have
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Armstrong dealt with by the police. In fact, they filed five missing person reports with the City
of Stamford Police Department in the year of 2008. These reports date back to February 12", 2008
through October 11"", 2008 (See Exhibits C1 through C5). On a couple of occasions, they tracked
her back to North Carolina where Armstrong had her performing prostitution. Eventually Sheena’s
parents were able to free her and had her return to school. Notwithstanding this exposure, she then

continued her education and worked throughout the bulk of her school years.

It was at one of her jobs where she first met her co-defendant Wellington Brown. She was
the front desk receptionist at a local hotel where Brown was prostituting several minor girls.
Shortly afterwards she joined Brown’s criminal activities. From the very outset of her relationship
with Brown, Sheena’s mother was extremely concerned and fearful for her safety. Thus, she filed
two police reports with the Greenwich Police Department on August 31, 2011 (See Exhibit D1

& D2).

Sheena Dume is not your typical minor sex trafficker/pimp or “bottom”. While we do not
have the psychological analysis to support our contention, we are convinced that the ordeal of her
youth contributed mightily to her involvement in the instant offense. She never received a
counseling, therapy of mental health treatment to address the trauma of her exposure to prostitution
under Armstrong. We are aware that she has received treatment while in BOP’s custody for PTSD
(See 4 145). Although she does not offer any excuses for her conduct, we contend that her ordeal

is a factor that should be given significant consideration by the Court.
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We believe that she was taken advantage of by her co-defendant. Certainly he subjected
her to severe physical, psychological and emotional abuse (See § 146). We are in no way

attempting to minimize Sheena’s conduct; however, again we believe that these are significant

items for Your Honor’s consideration.

2. The need for the sentence imposed. 18 U.S.C. § 3553(a)(2).
a) To reflect the seriousness of the offense, to promote respect for the law, and to

provide just punishment for the offense.

Sheena has been incarcerated on the instant offense for the past nineteen (19) months. She
is keenly aware of the seriousness of her conduct. She has expressed her sincerest contrition and
has taken substantial steps to becoming a better and stronger person. At the outset of our
representation, she advised us that being in jail has given her a sort of peace because she was away
from Brown’s reach. She also requested that we as well as her family explore the possibility of

her entering a program that would afford therapeutic treatment for young ladies who underwent

situations such as hers.

During the nineteen (19) months of Sheena’s incarceration, she has had two (2) disciplinary

infractions ({ 5) and achieved certificates in Anger Management, Substance Abuse and Domestic

Violence.
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In Gall v. United States, 552 U.S. 38 (2007), the Supreme Court affirmed a downward
variance based upon post offense rehabilitation. Courts have held that a variance or a downward
departure based upon post offense rehabilitation can be sufficient to meet the goals of sentencing:
deterrence, incapacitation, and rehabilitation. United States v. Cornielle, 171 F.3d 748 (2d Cir.
1999) (held that defendant’s successful effort to rehabilitate himself by his own actions removed
the case from the heartland of the more typical cases); United States v. Boltz, 88 F. App’x 471 (2d.
Cir. 2004) (holding that defendant’s rehabilitative efforts can in an appropriate case warrant a
downward departure); United States v. Clay, 483 F.3d 739 (11th Cir. 2007) (affirming a downward
variance 128 months below the guideline range based upon post-offense rehabilitation); United
States vy. Hairston, 502 F.3d 378 (6th Cir. 2007) (finding that a 50% downward variance was

reasonable in light of a defendant’s exceptional post-arrest rehabilitation).

In United States v. Ngatia, 477 F.3d 496 (7th Cir. 2007), the Court affirmed the sentence
of a defendant who participated in a wide ranging narcotics conspiracy, recruiting others to work
for her to distribute narcotics. The Court held that the non-Guidelines sentence of 84 months
below the Guideline range of 188 to 235 month was warranted because of her post offense
rehabilitation that took place in jail; specifically noting that she had taken every course offered to

her in the Metropolitan Correctional Center and received certificates of completion. Jd. at 501.

b) To afford adequate deterrence to criminal conduct.
As noted above, Ms. Dume fully appreciates the consequences of her conduct. She
does not express remorse because she was caught. Rather she expresses remorse because of the
impact that her arrest and subsequent conviction has had and will continue to have on her family,

as well as herself. As mentioned previously, she has found therapy in her arrest and incarceration.
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She has come to realize that she is in need of substantial psychological therapy and healing. She
shudders by the thought that she played a role in inflicting extreme trauma upon the lives of the
victims here. Given her ordeal, she has a vivid view as to their pain and suffering. The fact that
she too has been similarly victimized and clearly appreciates the harm is a tremendous deterrent

for her.

(c) To protect the public from further crimes of the defendant.
There is no reason to believe that a non-guidelines sentence will not meet the
requirement of this sentencing factor. Again, we contend that Sheena’s involvement here was
partly due to her victimization when she was a minor. She is making significant steps in turning

her life around,

d) To provide the defendant with the needed education or vocational training, medical

care, or other correction treatment in the most effective manner.

Sheena is 23 4 years old. Notwithstanding her offense, she has a demonstrated
work history. During the period after her parents got her away from Armstrong, she returned to
high school and ultimately got her GED. Moreover, she worked legitimate jobs from age fourteen
(14) onwards. While in jail, she has tried to address her issue with narcotics. Additionally, she
has actively sought mental health treatment. She also believes that she would benefit mightily
from a psycho-sexual analysis. All of these services and more are available to her on the outside

world. It is significant to note that Sheena has been extremely pro-active in requesting these

services or therapy.
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3. The kinds of sentences available. 18 U.S.C. § 3553(a)(3).
The United States Court of Appeals for the Second Circuit stated in United States
v. Jones, 460 F.3d 191, 194, that “[w]ith the entire Guidelines scheme rendered advisory by the
Supreme Court in Booker, the Guidelines limitations on the use of factors to permit departures are

no more binding on sentencing judges than the calculated Guidelines ranges themselves.”

The Court then stated that “(aJlthough the sentencing judge is obliged to consider all of the
sentencing factors outlined in section 3553(a), the judge is not prohibited from including in that
consideration the judge’s sense of what is a fair and just sentence under all circumstances.” Jd. at
194. Thus, while the Court must make a determination that takes the Guidelines into account, the
Court must also look at the facts and circumstances of Ms. Dume’s particular set of circumstances

and fashion a reasonable sentence that is individualized.

The fourth, fifth, sixth and seventh factors require that the Court consider the sentencing
guidelines, pertinent policy statements, the need to avoid unwarranted sentence disparities, and the

need to provide restitution.

CONCLUSION

Sheena Dume has begun to take steps to rebuild her life. Her participation in the
aforementioned BOP programs is a testament to that. She understands that she needs substantial
help in working through the demons of her past. To her credit, she has been extremely upfront in

asking for help. Her incarceration has given her a greater appreciation of her family and support
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system. She has a demonstrated work ethic and an intellectual capacity to become a productive
member of society. She is only 23 % years old and now must re-invent herself. She has the
capacity to do so. She appreciates that to achieve these goals she has to use all of the resources
available to her. Her family has a steep leaning towards religion. She belies that they will naturally
assist in reclaiming her moral compass. She wants to reclaim her life that her family desperately
tried to afford her. She begs Your Honor to show her mercy so that she can get on about being the

best that she can possibly be. She begs Your Honor for time served.

Thank you for your consideration.

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